                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

In the matter of:
                                                      Case No.: 18-51298-PJS
Joanne Ackerman
                                                      Chapter 7
                                                      Judge: Hon. Phillip J. Shefferly
         Debtor(s).
                                                /


 STIPULATION WITHDRAWING TRUSTEE’S MOTION TO EMPLOY BK GLOBAL
                     REAL ESTATE SERVICES


The parties agree to the attached order.



Dated: June 12, 2019

/s/ Douglas S. Ellmann                      /s/Crystal Price-Buckley
Douglas S. Ellmann (P34617)                 Crystal Price-Buckley P69921
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  ORDER APPROVING STIPULATION WITHDRAWING TRUSTEE’S MOTION TO
             EMPLOY BK GLOBAL REAL ESTATE SERVICES


       The Court having reviewed the Stipulation between the affected parties,



       IT IS HEREBY ORDERED that the Trustee’s Motion to Employ BK Global Real Estate

Services is withdrawn without prejudice.




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